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In the United States District Court
Por the Southern District of Georgia
Waprross Dibision

LEVI ARTHUR FEDD, *
*
Plaintiff, * CIVIL ACTION NO:: 5:20-cv-69
*
Vv. *
*
DR. JOHNSON, et al., *
*
Defendants. *
ORDER

Before the Court are Plaintiff's Objections to the
Magistrate Judge’s Report and Proposed Findings of Fact dated
May 4, 2021. Dkt. No. 38. In the Report, the Magistrate Judge
made factual findings related to where Plaintiff sent his notice
of appeal but did not make any legal conclusions or assessment
as to the timeliness of Plaintiff's notice of appeal. Dkt. No.
37 at 1.

Plaintiff's Objections to the Report are unresponsive and
without merit, as Plaintiff does not address the Magistrate
Judge's factual findings. Dkt. No. 38 at 1-7. Instead,
Plaintiff makes a series of disconnected arguments about issues
not before the Magistrate Judge. For instance, Plaintiff argues

for a directed verdict. Id. at 1. Similarly, Plaintiff argues

 
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about his right to engage “jailhouse lawyers” under the First
Amendment—again, an issue not before the Court or addressed in
the Report. Id. at 2-3. Finally, Defendant argues his notice
of appeal should be deemed timely, but that issue is also not
before the Court. Id. at 4-5. Instead, the Eleventh Circuit
Court of Appeals only directed this Court to make factual
findings about where the notice of appeal was sent and when.
Dkt. No. 33 at 2. Thus, Plaintiff’s Objections are OVERRULED.
After an independent and de novo review of the entire
record, the Court CONCURS with the Magistrate Judge’s Report and
Proposed Findings of Fact, ADOPTS the Report and Proposed
Findings of Fact as the findings of the Court, and OVERRULES
Plaintiff's Objections. The Court DIRECTS the Clerk of Court to
notify the Eleventh Circuit Court of Appeals of this Court’s

finding of facts.

 

SO ORDERED, this v ay| o May , 2021.
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HON | L7SA GODBEY WOOD, JUDGE
UNITRY STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
